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EXHIBIT 1 TO HUAWEI’S MOTION TO SEAL
       (PUBLIC REDACTED VERSION)
             PURSUANT TO ECF 1279
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·                                                        ·1· · ·A· ·Yes, we are renegotiating the licensing
                                                         ·2 terms with Qualcomm.
                                                         ·3· · ·Q· ·Is Huawei withholding royalty payments for
                                                         ·4 -- with respect to all of its agreements with
                                                         ·5 Qualcomm?· Or just some of them?
                                                         ·6· · ·A· ·Just some of them that we're in dispute.
                                                         ·7· · ·Q· ·Which ones are those?
                                                         ·8· · ·A· ·The subscriber units.




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23· · ·Q· ·I'm sorry.· I'm sorry.· Right now, as we sit
24 here today, is Huawei withholding royalty payments to
25 Qualcomm?
· · · · · · · · · · · · · · · · · · · · · · · · ·Page    · · · · · · · · · · · · · · · · · · · · · · · · ·Page
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17· · ·Q· ·Do you know how long Huawei has been
18 withholding royalty payments from Qualcomm?
19· · ·A· ·Yes.
20· · ·Q· ·How long?
21· · ·A· ·Approximately a year.
22· · ·Q· ·And do you know in that year period how much
23 Huawei has withheld?
24· · ·A· ·I don't know the specific number.

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20· · ·Q· ·Right now.· During the period in which
21 Huawei has withheld the royalty payments that
22 otherwise would have made Qualcomm, Qualcomm has
23 continued to supply Huawei with chips, hasn't it?
24· · ·A· ·Yes.· It was because of the decisions made
25 by NDRC and KFDC.
· · · · · · · · · · · · · · · · · · · · · · · · ·Page    · · · · · · · · · · · · · · · · · · · · · · · · ·Page
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·                                       ·1· · · I declare, under Penalty of Perjury, that the
                                        ·2 foregoing is true and correct.
                                        ·3· · · Executed this ______ day of ______________,
                                        ·4 2018, at
                                        ·5 _________________________________________________.
                                        ·6
                                        ·7
                                        ·8
                                        ·9
                                        10· · · · · · · ·________________________________
                                        11· · · · · · · · · · · · NANFEN YU
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                               NANFEN YU - 03/14/2018                     Page 226
                                                 Page 226
·1· · · · · · · · ·CERTIFICATE OF REPORTER
·2· · ·I, Heatherlynn Gonzalez, a Certified Shorthand
·3 Reporter, hereby certify that the witness in the
·4 foregoing deposition was by me duly sworn to tell the
·5 truth, the whole truth, and nothing but the truth in
·6 the within-entitled cause; that said deposition was
·7 taken down in shorthand by me, a disinterested
·8 person, at the time place therein stated; and that
·9 the testimony of said witness was thereafter reduced
10 to typewriting, by computer, under my direction and
11 supervision;
12· · ·That before completion of the deposition, that
13 review of the transcript was offered.· If requested,
14 any changes made by the deponent (and provided to the
15 reporter) during the period allowed are appended
16 hereto.
17· · ·I further certify that I am not of counsel or
18 attorney for either or any of the parties to the said
19 deposition, nor in any way interested in the event of
20 cause, and that I'm not related to any of the parties
21 thereto.
22 Dated:· Wednesday, March 14, 2018
23
24· · · · · ·__________________________________
25· · · · · · ·Heatherlynn Gonzalez, CSR 13646




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